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 1   KIEVE LAW OFFICES
     LOREN KIEVE (56280)
 2   2121 BROADWAY STREET, UNIT3
     SAN FRANCISCO, CALIFORNIA 94115
 3   TELEPHONE: (415) 425-2655 (CELL)
     LK@KIEVELAW.COM
 4
     Counsel for Amicus Curiae
 5   the Brennan Center for Justice
 6

 7                                  UNITED STATES DISTRICT COURT
                                   NORTHERN DISTRICT OF CALIFORNIA
 8
                                         SAN FRANCISCO DIVISION
 9

10   State of California et al.,
                                                              Case No. 3:25-cv-03372-JSC
11                         Plaintiffs,
                                                              UNOPPOSED MOTION OF THE
12             v.                                             BRENNAN CENTER FOR JUSTICE
     Donald J. Trump, in his official capacity as             FOR LEAVE TO FILE BRIEF AS
13                                                            AMICUS CURIAE
     President of the United States, et al.,
14
                           Defendants.
15
             The Brennan Center for Justice at New York University School of Law (the “Brennan
16

17   Center”) respectfully seeks the Court’s leave to file the attached brief of amicus curiae in support

18   of Plaintiffs.
19           The Brennan Center is a nonprofit, non-partisan law and public policy institute that seeks
20
     to strengthen, revitalize, and defend our systems of democracy and justice. The Brennan Center’s
21
     Liberty and National Security program uses innovative policy recommendations, litigation, and
22
     public advocacy to advance effective national security policies that respect the rule of law,
23

24   constitutional rights, and separation of powers. Program staff have conducted extensive research

25   and advocacy on presidential emergency powers, including the statute at issue in this case, the Inter

26   national Emergency Economic Powers Act (“IEEPA”), 50 U.S.C. §§ 1701-1710. See, e.g., Andrew
27   Boyle, Brennan Center for Justice, Checking the President’s Sanctions Powers (2021),
28
                                                       -1-
                                                                      Case No. 3:25-cv-03372-JSC
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     https://perma.cc/V2ZG-573P; Hearing on Restoring Congressional Oversight over Emergency
 1

 2   Powers: Exploring Options to Reform the National Emergencies Act Before the S. Comm. on

 3   Homeland Sec. and Governmental Affs., 118th Cong. (2024) (statement of Elizabeth Goitein,

 4   Brennan Center for Justice), https://perma.cc/4TJL-3QTR.
 5
            District courts have discretion over whether to allow participation by amici, and courts
 6
     generally exercise “great liberality” in permitting amicus briefs. California ex rel. Becerra v. U.S.
 7
     Dep’t of the Interior, 381 F. Supp. 3d 1153, 1164 (N.D. Cal. 2019) (citation and internal quotation
 8
     marks omitted); see also Upton v. Fakhoury, No. 19-55811, 2022 WL 213442, at *1 (9th Cir. Jan.
 9

10   24, 2022) (unpublished) (district courts have “broad discretion in appointing amicus curiae”).

11   “District courts frequently welcome amicus briefs from non-parties concerning legal issues that
12   have potential ramifications beyond the parties directly involved or if the amicus has unique
13
     information or perspective that can help the court beyond the help that the lawyers for the parties
14
     are able to provide.” NGV Gaming, Ltd. v. Upstream Point Molate, LLC, 355 F. Supp. 2d 1061,
15
     1067 (N.D. Cal. 2005) (citation and internal quotation marks omitted), rev’d in part, vacated in
16

17   part on other grounds, 531 F.3d 767 (9th Cir. 2008). “The salient question is whether such brief is

18   helpful to the Court.” Cody v. Ring, LLC, 718 F. Supp. 3d 993, 1004 (N.D. Cal. 2024) (quoting

19   California ex rel. Becerra, 381 F. Supp. 3d at 1164).
20          The brief presented by the Brennan Center would provide a unique perspective, rooted in
21
     relevant expertise, on the central question at issue in this case—whether IEEPA authorizes the
22
     imposition of tariffs. Drawing on the Brennan Center’s research, the proposed brief provides
23
     important context regarding the purpose behind Congress’s enactment of both IEEPA and the
24

25   National Emergencies Act, 50 U.S.C. §§ 1601-1651, and explains why interpreting IEEPA to

26   implicitly authorize tariffs would undermine Congress’s intent to rein in presidential use of

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                                                                    Case No. 3:25-cv-03372-JSC
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      Case 3:25-cv-03372-JSC          Document 33           Filed 05/20/25   Page 3 of 4



     emergency powers and ensure that such powers would not be used as substitutes for non-emergency
 1

 2   legislation.

 3           The Brennan Center has a special interest in the subject matter and outcome of this case.

 4   Interpreting IEEPA to include authority not expressly mentioned could have spillover effects on
 5
     the 149 other statutory authorities unlocked upon presidential declaration of a national emergency,
 6
     enabling “rule by emergency power” and posing a serious threat to constitutional separation of
 7
     powers.
 8
             Counsel for the Brennan Center has contacted counsel for the parties. Plaintiffs and
 9

10   Defendants have indicated that they do not oppose filing of the proposed brief.

11           For the foregoing reasons, the Brennan Center respectfully requests that the Court grant this
12   Motion and permit counsel to file the accompanying brief of amicus curiae.
13
     Dated: May 20, 2025                           Respectfully Submitted,
14
                                                   /s/ Loren Kieve         .
15                                                 Loren Kieve (56280)
                                                   KIEVE LAW OFFICES
16                                                 2121 Broadway Street, Unit 3
                                                   San Francisco, California 94115
17                                                 Telephone: (415) 425-2655 (Cell)
                                                   lk@kievelaw.com
18

19                                                 Leah J. Tulin*
                                                   Elizabeth Goitein*
20                                                 Hannah James*
                                                   BRENNAN CENTER FOR JUSTICE AT NYU
21                                                 SCHOOL OF LAW
                                                   1140 Connecticut Ave. NW, Ste. 1150
22
                                                   Washington, D.C. 20036
23                                                 (202) 650-6397 (telephone)
                                                   (202) 223-2683 (fax)
24                                                 tulinl@brennan.law.nyu.edu
                                                   goiteine@brennan.law.nyu.edu
25                                                 jamesh@brennan.law.nyu.edu
                                                   *Admission pro hac vice pending
26

27                                                 Counsel for Amicus Curiae the Brennan
                                                   Center for Justice
28
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                                     CERTIFICATE OF SERVICE
 1

 2          I hereby certify that on May 20, 2025, I electronically filed the foregoing document with

 3   the Clerk of Court using the CM/ECF system, which will cause it to be served on all parties and

 4   counsel of record.
 5

 6                                               /s/ Leah J. Tulin
                                                 Leah J. Tulin
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